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10
                   IN THE SUPERIOR COURT FOR THE STATE OF ALASKA
11                      THIRD JUDICIAL DISTRICT AT ANCHORAGE
12   FOCUS FOR UNDERSTANDING
     SPECIAL NEEDS, INC., dba FOCUS,
13   INC.; CRAIG ROSE and JENNIFER              Case No. 3AN-13-08411CI
     ROSE, individually, and on behalf of
14   their minor children, M.R. and K.R.;       SECOND AMENDED
                                                COMPLAINT FOR DAMAGES
15                   Plaintiffs,

16            v.
17   WELLS FARGO INSURANCE
     SERVICES USA, INC., DOE AGENTS
18   1-10, and DOE CORPORATIONS 11-
     20,
19
                     Defendants.
20 1+-----------------------------~
21
              Plaintiffs   Fi\lV!ILY OUTREACH   CENTER        FOR UNDERSTANDING
22
     SPECIAL NEEDS, INC., dba FOCUS, INC. ("Focus"); and CRAIG ROSE and
23
     JENNIFER ROSE, individually, and on behalf of their minor children, MICHAEL
24
25   ROSE and KAYLA ROSE, (Roses); (collectively Plaintiffs); allege damages as a

     -I-                                                  PATTERSON BUCHANAN
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     result of the failure of Defendant WELLS FARGO INSURANCE SERVICES USA,
 1

 2   INC. (Wells Fargo) to properly advise Focus as Focus's insurance agent concerning

 3   insurance issues and failure to provide Focus with appropriate liability coverage

 4   for sexual abuse and/or molestation.
 5
                                            Parties
 6
              1.    Plaintiff Focus is a nonprofit corporation registered with the State of
 7
     Alaska which provides quality-of-life-improving services to client families with
 8

 9   disabled family members. Its physical address is in the Third Judicial District of

10   the State of Alaska. Focus's limited assets are intended to benefit its mission and

11   the families it serves.
12
              2.    Plaintiffs Craig and Jennifer Rose are the parents of minor children,
13
     M.R. and K.R. The Roses are residents of the Third Judicial District of the State
14
     of Alaska.
15

16            3.    Defendant Wells Fargo Insurance Services USA, Inc., (Wells Fargo) is

17   a business corporation registered with the State of Alaska, whose business

18   activities, among other things, are described as insurance agents/brokers. Wells
19
     Fargo provides insurance agent services to companies in the Third Judicial
20
     District and has an office located in Anchorage, Alaska. On information and belief,
21
     there are two predecessor-in-interest corporations which preceded Wells Fargo and
22
23   which are relevant to this case. Those entities are Wells Fargo Insurance Services

24   of Alaska, Inc. and Acordia of Alaska, Inc. On information and belief, Acordia of

25   Alaska, Inc. merged into Wells Fargo Insurance Services of Alaska, Inc. in

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     approximately 2006. On information and belief, Wells Fargo Insurance Services of

 2   Alaska, Inc. then merged with defendant Wells Fargo Insurance Services USA,

 3   Inc. (Wells Fargo) in 2009.            Wells Fargo Insurance Services USA, Inc. (Wells

 4   Fargo) has successor liability for acts or omissions, if any, of Wells Fargo
 5
     Insurance Services of Alaska, Inc. and Acordia of Alaska, Inc.
 6
              4.    Doe Agents 1-10 are insurance agents involved in the sale of the
 7
     insurance policy at issue to Focus of the insurance policy. On information and
 8

 9   belief it is alleged that Doe Agents 1-10 are residents of the State of Alaska.

10            5.    Doe corporations 11-20 are either subsidiaries, parent companies, or

11   successors in interest of Wells Fargo, if any, and were involved in the sale to Focus
12
     of the insurance policy at issue in this case.
13
                                      Jurisdiction and Venue
14
              6.    The Court has subject matter jurisdiction over the subject matter of
15

16   this action pursuant to AS 22.10.020, as it arises under the laws of the State of

17   Alaska.
18            7.    The Court has personal jurisdiction over all the parties as many of
19
     the events described herein took place. in the Third Judicial District and
20
     Defendant Wells Fargo conducts business in the Third Judicial District.
21
              8.    Venue is proper under AS 22.10.030 and Alaska Rule of Civil
22
23   Procedure 3.

24
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25

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                                            Background
 1

 2            9.    During the Summer of 2010, Focus employed one Jacob Miller and

 3   assigned him as a caregiver to M.R. While providing care to M.R., Miller also

 4   provided caregiver services to K.R. Both M.R. and K.R. were school age disabled
 5
     children under the age of 10.
 6
              10.   In July and August 2010, Miller provided M.R. and K.R. caregiver
 7
     services at the Rose home on multiple occasions. In early August 2010, Mrs. Rose
 8

 9   learned that Miller had sexually molested both M.R. and K.R.

10            11.   Miller was arrested, confessed to his criminal conduct of molesting

11   both M.R. and K.R., was convicted of sexually abusing minors, and was sentenced
12
     to prison. Miller is currently in the custody of the State of Alaska Department of
13
     Corrections.
14
              12.   Before these incidents of sexual abuse and/or molestation, neither
15

1
 6   Focus nor the Roses had any notice that Miller was a risk or danger to children.

17            13.   In 2011, the Roses presented Focus with a claim arising out of

18   Miller's molestations of their children. The matter was mediated on September
19
     25, 2012 before any complaint was filed.
20
              14.   The sexual abuse and/or molestation was neither authorized no
21
     reasonably appeared to be authorized by Focus. However, the Roses asserted tha
22
     the "aided-in-agency" theory of liability against Focus which imposes vicariou
23

24   liability on entities for the tortuous sexual misconduct of an employee when throug

25   the employment the employee had access to the victim, even though the employee

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     acts outside the course and scope of his employment when committing th

 2   molestations. (Ayuluk v. Red Oaks Assisted Living, 201 P.3d 1183, 1199 (Alask

 3   2009).)
 4             15.      The Roses and Focus resolved their dispute at mediation, agreeing
 5
     that Focus would partially assign its professional negligence claim against Wells
 6
     Fargo to the Roses. (The Assignment.)
 7
               16.     As part of the Assignment between the Roses and Focus, Focus's
 8
 9   insurer paid the Roses $100,000.00, the full amount of liability coverage under the

10   Policy.         In addition, Focus's insurer paid the Roses $12,400.00 in Rule 82

11   attorneys' fees.
12
               17.     Additionally, Focus paid the Roses $200,000.00 from its own
13
     proceeds.
14
                          First Cause of Action: Professional Negligence
15                                  Focus Against Wells Fargo
16
               18.      Focus and the Roses re-allege the paragraphs set forth above.
17
               19.     Since 1978, Focus has provided quality-of-life-improving services for
18
     hundreds of disabled individuals and their families, usually at no cost to those
19

20   families. Focus provides such services to families with disabled infants, disabled

21   children, disabled adolescents, and disabled adult family members. Focus serves
22   disabled individuals who have autism, intellectual disability (formerly called
23
     "mental retardation"), cognitive delays, down syndrome, fetal alcohol syndrome,
24
     and traumatic brain injuries. Focus is licensed as a Home and Community Based
25
     Waiver Provider and has specialized programs for disabled infants through its
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     Infant Learning Program. At all times relevant, Wells Fargo, through its agents
 1

 2   selling Focus insurance coverage was generally aware of the nature and scope of

 3   Focus's business.
 4             20.   Services which Focus provides the disabled include the following:
 5
     Home Support Services, Caregiver Services, Respite Services, Day Habilitation
 6
     Services, Infant Learning Program, After School Program, Summer Camp, Art
 7
     Program, and Supportive Employment Services for the disabled.                         In providing
 8
 9   such services for disabled individuals, Focus employees must work one-to-one with

10   disabled individuals, often without others present. Again, at all times relevant,

11   Wells Fargo, through its agents selling Focus insurance coverage was generally
12
     aware of the nature and scope of services Focus provided.
13
               21.   Entities like Focus which provide care-giver services to children can
14
     be exposed to jury verdicts and settlements as a result of inappropriate sexual
15

16   conduct by employees.

17             22.   As part of its due diligence in operating a non-profit corporation that

18   provides quality-of-life-improving services to families with disabled family
19
     members, between at least 2000 and 2009, Focus purchased liability insurance
20
     from Wells Fargo though Wells Fargo's agents.
21
               23.   Each year Focus and Wells Fargo updated Focus's liability insurance.
22

23   The policy in effect during the time of the molestations described above was a

24   Princeton E&S insurance policy. During the process of purchasing and renewing

25   insurance, the Wells Fargo agent advised Focus that it needed insurance to protect

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     it in situations of sexual abuse or sexual molestation. At Wells Fargo's agent's

 2   advice, Focus purchased Sexual Abuse or Molestation Liability Coverage (Sexual

 3   Molestation Coverage) from Wells Fargo with a coverage limitation of $100,000.00

 4   per occurrence.
 5
                24.   The practical implications of Focus's insurance limitations are
 6
     apparent in sexual abuse verdicts and settlements around the nation and in
 7
     Ayuluk v. Red Oaks Assisted Living, 201 P.3d 1183, 1199 (Alaska 2009).
 8

 9              25.   Such sexual molestation settlements and verdicts in recent years for

10   situations similar to the molestations alleged above are usually well above the

11   $100,000.00 insurance coverage limitation of the Sexual Misconduct Coverage
12
     Wells Fargo provided to Focus. This is information which Wells Fargo, its agents,
13
     and underwriters, knew or should have known in selling Sexual Misconduct
14
     Coverage to its customers, including Focus.       It is also information which Wells
15

16   Fargo, its agents, and underwriters, knew or should have known that its

17   customers would be unaware of.

18              26.   In 2009, the Alaska Supreme Court validated the application of the
19
     "aided-in-agency theory" for sexual misconduct cases. The result of this decision is
20
     that an Alaska employer can be held strictly liable for the molestations of an
21
     employee, even where the employer had no notice or way of knowing that the
22
     employee had such tendencies, merely because the employee was aided in being
23

24   able to molest the child by the agency relationship which put the employee with

25   that child to begin with. (See Ayuluk, 201 P.3d at 199.)

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              27.   At all times relevant, Wells Fargo held itself out to the public as an
 1

 2   insurance agent with the degree of skill, expertise, and knowledge requisite to the

 3   profession. In working with Focus, Wells Fargo through its agents understood or
 4   should have understood the nature of the services Focus provided, most
 5
     specifically that Focus employees would be working one-to-one with disabled
 6
     individuals, often without others around.
 7
              28.   At some time before 2010, Wells Fargo's agent(s) did the following
 8

 9   which created a "special relationship" (Peter v. Schumacher Enterprises, Inc., 22

10   P.3d 481, 486-88 (Alaska 2001) with Focus in the sale of Sexual Misconduct

11   Coverage to Focus:
12
                    a. The Wells Fargo agent took it upon herself to advise Focus to
13
              purchase the Sexual Misconduct Coverage;
14
                    b. The Wells Fargo agent failed to advise Focus of any other options
15

16            of limits available on the Sexual Misconduct Coverage;

17                  c. The Wells Fargo agent failed to advise Focus or any other

18            insurance carriers which could offer adequate levels of sexual misconduct
19
              insurance; and
20
                    d. The Wells Fargo agent determined the insurance carrier, policy,
21
              and amount of coverage with Sexual Misconduct Coverage that Focus would
22
23
              be purchasing resulting in the $100,000.00 policy limits on sexual

24            misconduct.

25

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              29.   After purchasing Sexual Misconduct Coverage, Focus believed that it

 2   was adequately covered by insurance for sexual abuse and molestation claims.

 3            30.   Because of the special relationship that existed between Wells Fargo

 4   and Focus, Wells Fargo owed Focus a duty of care in the sale of insurance to Wells
 5
     Fargo, including in advising concerning appropriate levels of coverage and
 6
     available coverage limits as well as alternatives to other insurance than the
 7
     Sexual Misconduct Coverage with the $100,000.00 limits.
 8

 9            31.   Because of the special relationship that existed between Wells Fargo

10   and Focus, Wells Fargo through its agents owed Focus a duty of care, skill, and

11   diligence to act in accordance with the standard of care of insurance agents
12
     providing businesses with specialized insurance to meet their business needs.
13
     This duty of care included appropriately advising Focus concerning the amount of
14
     liability coverage which would be prudent for sexual misconduct of its employees
15

16   and calling to Focus's attention the fact that $100,000.00 insurance for sexual

17   misconduct in Focus's situation would leave Focus underinsured for such claims.

18            32.   Focus justifiably relied on Wells Fargo through its agents to provide
19
     it with adequate insurance coverage for sexual misconduct.
20
              33.   In providing insurance agent services to Focus, Wells Fargo, through
21
     its agents, breached its duty of care to Focus and failed to meet the standard of
22
23
     care for an insurance agent holding itself out to the public as having the degree of

24   skill, expertise, and knowledge requisite to the profession in ways which include,

25   but are not limited to the following:
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                    a. Not possessing reasonable knowledge and/or informing Focus of
 1

 2            the types of policies and coverage available for sexual abuse or molestation.

 3                  b. Not knowing and and/or informing Focus that entities which
 4            through business necessity have employees working one-to-one with
 5
              disabled children need to be insured in an amount greatly more than the
 6
              $100,000.00 policy offered and suggested to Focus by Wells Fargo.
 7
                    c. Not taking into account the Alaska Supreme Court's February
 8

 9            2009 determination that the "aided-in agency" theory applied to caregivers

10            and their employers. (See Ayuluk v. Red Oaks Assisted Living Inc., 201 P.3d

11            1183, 1199-1200 (Alaska 2009).)
12
                    d. Not informing Focus that Focus itself needed to determine the
13
              amount of sexual misconduct coverage it needed and that the agent should
14
              not be relied upon to do so.
15

16            34.   Because of the negligence of Wells Fargo through its agents, Focus

17   has been damaged. Focus's ability to successfully defend the claims asserted by

18   the Roses was unfairly and unreasonably impaired. Focus had to pay $200,000.00
19
     in resolving the underlying case with the Roses, and incurred attorneys' fees and
20
     costs, not all of which were covered by their insurance. Focus has also suffered
21
     general damages in relation to having to defend itself in a case with inadequate
22
23   Insurance.

24            35.   Wells Fargo's breach was the proximate cause of Focus's injury.

25   Focus suffered general and specific damages as a direct and proximate result of

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     the negligence by Wells Fargo and its agents.              Focus had to pay the Roses

 2   $200,000.00 because the sexual abuse and/or molestation liability insurance Wells

 3   Fargo sold Focus did not provide sufficient coverage for sexual abuse claims, and
 4   unreasonably impaired Focus's ability to defend itself against such claims. But for
 5
     the negligence of Wells Fargo and its agents, Focus would not have incurred the
 6
     financial liability it did.
 7
                   Second Cause of Action: Negligent Training and Supervision of
 8
                                         Employees
 9                        Focus Against Wells Fargo and Its Agents

10            36.      Focus and the Roses re-allege the paragraphs set forth above.

11            37.     Wells Fargo owed a duty of care to its insurance customers to train
12
     and supervise their insurance agents who sold Sexual Misconduct Coverage to the
13
     public. That duty of care in the area of Sexual Misconduct Coverage included
14
     training agents either (a) to not advise customers as to the kind or amount of
15

16   Sexual Misconduct Coverage to purchase, or (b) to properly advise customers as

17   the risks of sexual misconduct verdicts, .the risks of the Ayuluk case, and to

18   provide optional coverage limits or optional policies with optional policy limits.
19
              38.     Wells Fargo failed to meet its duty of care in training and supervising
20
     the agents involved in the sale of Sexual Misconduct Coverage to Focus.
21
              39.     Focus incurred general and special damages which were directly and
22
23   proximately caused by this breach.

24                            Third Cause of Action: Negligence
                         The Roses Against Wells Fargo and Its Agents
25
              40.      Focus and the Roses re-allege the paragraphs set forth above.
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              41.     Wells Fargo owed the Roses a duty of care which existed outside of
 1
 2   contract law in the area of tort law to operate in a fashion which would not

 3   foreseeably jeopardize members of the public when it sold insurance to companies

 4   like Focus.
 5
              42.     This duty of care is based on the public policy of protecting children
 6
     which is behind the Ayuluk case holding caregiver companies strictly liable for the
 7
     sexual misconduct of their employees when the company provides the employee
 8

 9   access to children who are molested.

10            43.     The Roses were unable to recover adequately against Focus because

11   of the insufficient insurance which Wells Fargo sold to Focus. Putting Focus out of
12
     business with a large verdict was not an option for the Roses as they knew that
13
     hundreds of local families depended on Focus to provide caregiver services to
14
     disabled members of those families.
15

16            44.     The kind of situation that the Roses were in when they entered into

17   their Assignment agreement with Focus was foreseeable to Wells Fargo at the

18   time Wells Fargo sold Focus the Sexual Misconduct Coverage.
19
              45.     Wells Fargo breached its duty to the Roses alleged above in providing
20
     Focus with inadequate insurance coverage for sexual misconduct claims.
21
              46.     Wells Fargo's breach of duty to the Hoses has caused each of the
22

23   Roses damages, including special and general damages.

24                             Fourth Cause of Action: Equity
                    Focus and the Roses Against Wells Fargo and Its Agents
25
              47.     Focus and the Roses re-allege the paragraphs set forth above.
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              48.     If the court determines that either Focus's or the Roses's negligence
 1
 2   claim(s) against Wells Fargo is/are insufficient to provide the relief sought, then

 3   Focus and/or the Roses plead the following in the alternative.

 4            49.     Focus acted with clean hands and good faith in all its dealings with
 5
     Wells Fargo. It resolved the molestation claim in good faith.
 6
              50.     The Roses have acted with clean hands and in good faith in all its
 7
     dealings alleged above. They ended their underlying claim against Focus with the
 8

 9   Assignment compromising far more than they would have had Focus been properly

10   insured.       While the Roses could have sought additional relief against Focus's

11   assets, the Roses did not want to jeopardize the services Focus provides to
12
     hundreds of local area families and therefore in compassion for those families
13
     resolved their claim with the Assignment.
14
              51.     Equitable principles apply in this case, including but not limited to:
15

16                    a.   There is a remedy for every harm.

17                    b.   When there is an .inadequate remedy at law, equity will provide.

18                         See, e.g. Knaebel v. Heiner, 663 P.2d 551, 553 (Alaska 1983).
19
                      c.   No one should suffer by the act of another.
20
                      d.   He who takes the benefit must bear the burden.
21
              52.     In selling Focus insurance which because of the realities of jury
22
23
     verdicts and settlements would be insufficient for sexual abuse or molestation

24   claims, Wells Fargo erred in ways which caused its innocent client, Focus, and the

25   Roses to suffer.
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              53.     Wells Fargo took benefit from the sale of the insurance to Focus and
 1
 2   should therefore bear the burden of the damage caused to Focus and the Roses by

 3   the insufficient insurance.
 4            54.     If there is no adequate remedy at law, Focus and/or the Roses allege
 5
     that principles of equity should provide them with relief.
 6
                             Fifth Cause of Action: Reformation
 7                  Focus and the Roses Against Wells Fargo and Its Agents
 8                    Focus and the Roses re-allege the paragraphs set forth above.
              55.
 9
              56.     Alaska courts recognize an expansive use of the tool of reformation to
10
     alter the terms of a contract when the interests of justice so require. Fireman's
11
     Fund Mortgage Corp. v. Allstate Ins. Co., 838 P.2d 790, 797 (Alaska 1992) (citing
12

13   Vockner v. Erickson, 712 P.2d 379, 383 (Alaska 1986)).

14            57.     Focus and the Roses are entitled to reformation of the insurance
15   contract based on Wells Fargo and its agents' negligent failure to inform or provide
16
     Focus with adequate sexual abuse coverage when Focus was justifiably relying on
17
     Wells Fargo to provide it with adequate coverage. Wells Fargo knew or should
18
     have known that the sale of a sexual abuse insurance policy that only covered
19

20   $100,000 per occurrence was inadequate to ·cover the costs of a sexual abuse claim.

21                        Sixth Cause of Action: Equitable Estoppel
                    Focus and the Roses Against Wells Fargo and Its Agents
22
23            58.     Focus and the Roses re-allege the paragraphs set forth above.

24            59.     Equitable estoppel applies where there is there is an assertion of a

25   position by conduct or word, reasonable reliance thereon by another party, and

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     resulting prejudice. Jamison v. Consol. Utils., Inc., 576 P.2d 97, 102 (Alaska 1978);
 1

 2   cited by Osterkamp v. Stiles, 235 P.3d 193, 196 (Alaska 2010).

 3            60.     Wells Fargo and its agents asserted by their conduct that they had

 4   the degree of expertise and knowledge requisite to the insurance profession to
 5
     provide Focus with adequate sexual abuse insurance coverage. This position was
 6
     reasonably relied upon by Focus and resulted in prejudice to Focus when it was
 7
     sold inadequate sexual abuse coverage.
 8

 9                                          Prayer for Relief

10            The Roses and Focus pray that this court enter a judgment against Wells

11   Fargo and its agents, jointly and severally, as follows:
12
              a.    For general damages, the exact amount of which will be established at
13
     trial, to compensate the Roses and Focus for the losses and damages attributable
14
     to the negligence of Wells Fargo;
15
16            b.    For special damages, the exact amount of which will be established at

17   trial, to compensate the Roses and Focus for the losses and damages attributable

18   to the negligence of Wells Fargo;
19
              c.    For other damages as allowed by law, the exact amount of which will be
20
     established at trial, to compensate the Roses and Focus for the losses and damages
21
     attributable to the negligence of Wells Fargo;
22
23            d.    For pre-judgment and post-judgment interest thereon;

24

25

                                                                  PATTERSON BUCHANAN
     - 15-
                                                                 FOBES & LEITCH, INC., P.S.

     Second Amended Complaint for Damages                  2112 Third Avenue, Suite 500, Seattle WA. 98121
                                                                Tel. 206.462.6700 Fax 206.462.6701
     281448.docx                                                        Exhibit A
             Case 3:13-cv-00174-JWS Document 1-1 Filed 09/06/13 PagePage
                                                                     15 of15
                                                                           17of 17
              e.   For reasonable attorney's fees and costs incurred in bringing this action,
 1
 2   as provided by any applicable statute, contract, or recognized grounds in equity;

 3   and
 4            f.   For any further or additional relief that the court finds equitable,
 5
     appropriate, or just.
 6
     Dated: August __ , 2013.
 7
                                                JON BUCHHOLDT LAW
 8

 9                                              By: _ _ _ _ _ _ _ _ _ _ _ _ __
10                                                  Jon Buchholdt ID No. 9206023
                                                    Attorney for Plaintiffs
11

12
     Dated: August 21, 2013.
13

14                                              PATTERSON BUCHANAN
                                                FOBES & LEITCH, INC., P.S.
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     - 16-                                                       PATTERSON BUCHANAN
                                                                FOBES & LEITCH, INC., P.S.

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                                                                     16 of16
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                                        CERTIFICATE OF SERVICE
 1
              The undersigned certifies under penalty of perjury under the laws of the State of Alas
 2
 3   that on the below date I caused to be served upon counsel listed below in the manner indicated

 4   true and correct copy or the original of the foregoing and attached document.

 5
                                                          Via:
 6            Gary A. Zipkin                                       [X] U.S. Mail
              Guess & Rudd P.C.                                     [ ] Facsimile
 7            510 L Street, Suite 700                              [ ] Legal Messenger
              Anchorage, AK 99501                                  [X] Email
 8

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     -17-                                                             PATTERSON BUCHANAN
                                                                     FOBES & LEITCH, INC., P.S.

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